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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF ARKANSAS
                                     WESTERN DIVISION

DINA DAHDAL, M.D.                                                                  PLAINTIFF

VS.                              CASE NO. 4:17-CV-478

BRITTANY GODFREY, BYRON HARPER, OFC. SILVA,                                       DEFENDANTS
individually and in their official capacities as
police officers for the city of Little Rock,
CITY OF LITTLE ROCK and
UNITED PAIN CARE, LTD


                      MOTION TO WITDRAW AS ATTORNEY OF RECORD

       Comes now R. David Lewis, and for his motion to withdraw respectfully states:

   1. Counsel respectfully requests to be relieved as counsel for Dina Dahdal due to a breakdown in

communication between the client and attorney. No money owed by Lewis to client and Lewis will

deliver the file to the client or to whomever she requests it be delivered.

       WHEREFORE, Lewis prays that he be relieved from further obligations to his client, Dina

Dahdal.



                                                             Respectfully submitted:

                                                             /s/ R. David Lewis

                                                             R. David Lewis 68030
                                                             Attorney for plaintiff
                                                             1109 Kavanaugh Blvd.
                                                             Little Rock, Arkansas 72205
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                                                             501-664-0818
                                                             501-664-3884 Facsimile
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                                   CERTIFICATE OF SERVICE


       I hereby certify that a true and correct copy of the foregoing pleading has been served on the
following by the court's ECF/CM system on this 6th day of December, 2018:

/s/ R. David Lewis
________________________
R. David Lewis

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Attorneys for City of LR, Godfrey, Silva, Harper
